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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLORADO

Civil Action No.

 UNITED STATES OF AMERICA,

            Plaintiff,

            v.

 MELOCENT V. SCOTLAND,

            Defendant.


     COMPLAINT TO REDUCE FEDERAL TAX ASSESSMENTS TO JUDGMENT


       Plaintiff, the United States of America, alleges as follows:

       1.        This is a civil action bought by the United States to reduce to judgement certain

federal income tax assessments made against Melocent V. Scotland.

                             Authorization for Suit, Jurisdiction, and Venue

       2.        Pursuant to 26 U.S.C. § 7401, this action is filed with the authorization

of, and at the request of, the Secretary of the Treasury of the United States, acting through his

delegate, the Associate Area Counsel of the Internal Revenue Service. The United States’

Complaint is filed at the direction of the Attorney General of the United States.

       3.        This Court has subject matter jurisdiction under 28 U.S.C. §§ 1340 and 1345 and

26 U.S.C. § 7402.

       4.        Because defendant Scotland resides in Aura, Colorado, venue is appropriate in the

District of Colorado. 28 U.S.C. §§ 1391 and 1396.


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                                         The Defendant

       5.      Defendant Scotland is an individual with unpaid income tax liabilities who resides

in Aura, Colorado.

                                  The Tax Liabilities At Issue

       6.      A duly authorized delegate of the Secretary of the Treasury made timely

assessments against Scotland for unpaid federal income taxes for tax years 2007 through 2014,

as shown in the table below.


    Period     Initial                    Assessment                    Assessment       Unpaid
             Assessment                      Type                        Amounts        Accrued
                Date                                                                     Balance
                                                                                          as of
                                                                                       10/19/20201
    2007     08/02/2010   Taxes                                          $20,897.00
             08/02/2010   Penalty for not Pre-Paying Tax                    $400.01
             08/02/2010   Penalty for Filing Tax Return after Due         $2,250.00
             08/02/2010   Penalty for Late Payment of Tax                 $1,400.00
             08/02/2010   Interest Charge for Late Payment                $1,370.10
             12/13/2010   Penalty for Late Payment of Tax                   $300.00
             11/25/2019   Penalty for Late Payment of Tax                    $31.89
             12/09/2019   Penalty for Late Payment of Tax                   $700.00
             12/30/2019   Interest Charge for Late Payment                  $631.89
             12/30/2019   Penalty for Late Payment of Tax                    $68.11
             01/06/2020   Interest Charge for Late Payment                  $700.00
             02/10/2020   Interest Charge for Late Payment                $1,400.00
             02/17/2020   Interest Charge for Late Payment                  $700.00
             03/02/2020   Interest Charge for Late Payment                  $700.00
             03/16/2020   Interest Charge for Late Payment                  $700.00
             03/23/2020   Fees & Other Expenses for Collection               $56.00
             03/30/2020   Interest Charge for Late Payment                  $644.00
             04/13/2020   Interest Charge for Late Payment                  $700.00
                                                                                            $14.50

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  Reflects the balance of the assessment, net payments and credits, with unassessed accruals for
interest and other statutory additions, calculated on October 5, 2020, with accruals through
October 19, 2020.

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  Period     Initial                  Assessment                  Assessment     Unpaid
           Assessment                    Type                      Amounts      Accrued
              Date                                                               Balance
                                                                                  as of
                                                                               10/19/20201
  2008     08/09/2010   Taxes                                     $20,543.00
           08/09/2010   Penalty for not Pre-paying Tax               $345.28
           08/09/2010   Penalty for Filing Tax Return After Due    $2,637.90
           08/09/2010   Penalty for Late Payment of Tax              $937.92
           08/09/2010   Interest Charge for Late Payment             $777.31
           12/13/2010   Penalty for Late Payment of Tax              $351.72
                                                                                $25,574.23
  2009     08/02/2010   Taxes                                     $20,324.00
           08/02/2010   Penalty for not Pre-paying Tax               $182.59
           08/02/2010   Penalty for Filing Tax Return After Due    $1,200.96
           08/02/2010   Penalty for Late Payment of Tax              $177.92
           08/02/2010   Interest Charge for Late Payment             $121.33
           12/13/2010   Penalty for Late Payment of Tax              $266.88
                                                                                $12,212.75
  2010     05/30/2011   Taxes                                     $15,425.00
           05/30/2011   Penalty for Late Payment of Tax               $47.78
           05/30/2011   Interest Charged for Late Payment             $29.55
           07/09/2012   Fees & Other Expenses for Collection          $42.00
           08/31/2020   Fee & Other Expenses for Collection           $56.00
                                                                                 $9,484.46
  2011     05/28/2012   Taxes                                     $14,356.00
           05/28/2012   Penalty for not Pre-paying Tax                $71.00
           05/28/2012   Penalty for not Pre-paying Tax                $46.64
           05/28/2012   Interest Charged for Late Payment             $16.47
           07/16/2012   Fees & Other Expenses for Collection          $42.00
                                                                                 $7,796.20
  2012     04/08/2013   Taxes                                     $18,934.00
           03/02/2015   Miscellaneous Penalty, Accuracy Related    $1,383.00
           03/02/2015   Additional Tax Assessed                   $6,9191.00
           03/02/2015   Interest Charged for Late Payment            $481.28
           05/18/2015   Fees & Other Expenses for Collection          $52.00

                                                                                $12,943.21




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   Period     Initial                      Assessment                     Assessment       Unpaid
            Assessment                        Type                         Amounts        Accrued
               Date                                                                        Balance
                                                                                            as of
                                                                                         10/19/20201
    2013     04/28/2014    Taxes                                           $20,418.00
             02/15/2016    Additional Tax Assessed                          $3,445.00
             02/15/2016    Interest Charged for Late Payment                  $195.29
             02/13/2017    Fees & Other Expenses for Collection                $66.00
             12/18/2017    Interest Charge for Late Payment                   $275.27
             12/18/2017    Penalty for Late Payment of Tax                    $378.95
             12/17/2018    Interest Charge for Late Payment                   $210.01
             12/17/2018    Penalty for Late Payment of Tax                    $206.70
             12/09/2019    Interest Charge for Late Payment                   $264.35
             12/09/2019    Penalty for Late Payment of Tax                    $275.59

                                                                                           $5,517.43
    2014     04/27/2015    Taxes                                           $20,959.00
             11/21/2016    Additional Tax Assessed                          $1,079.00
             11/21/2016    Interest Charge for Late Payment                    $60.34
             12/17/2018    Interest Charge for Late Payment                   $107.07
             12/17/2018    Penalty for Late Payment of Tax                    $263.86
             12/09/2018    Interest Charge for Late Payment                    $83.46
             12/09/2019    Penalty for Late Payment of Tax                      $5.38

                                                                                           $1,657.27
               Total                                                                      $75,200.05


       7.      The initial federal income tax assessments for the 2007 through 2011 tax years are

based on amounts Scotland self-reported on her returns. The unpaid liabilities primarily stem

from insufficient withholdings during the tax year to cover her reported liabilities.

       8.      The federal income tax liabilities for the 2012 through 2014 taxable years include

additional assessments the IRS made because, after Scotland filed the returns, the IRS

determined she had underreported her income for those years. The IRS thus assessed additional

amounts.


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       9.      At various times Scotland has entered into installment agreements with the IRS,

although she has defaulted on all of them. As relevant here, Scotland entered into an installment

agreement for tax years 2007, 2008, and 2009 that was pending as of April 9, 2012, and active as

of July 9, 2012.

       10.     Based on the installment agreement described in paragraph 9, the statute of

limitations for collection of Ms. Scotland’s federal income tax liabilities for 2007, 2008, and

2009 was extended by at least 91 days.

       11.     As a result of Scotland’s continued failure to pay the assessed balances, interest

and other statutory additions have accrued and may continue to accrue. The unpaid total

balance, calculated through October 19, 2020, including statutory accruals, is $75,200.05, plus

such interest or other statutory additions as may continue to accrue, net any payments or credits.

        Count I: Reduce Tax Assessment against Melocent V. Scotland to Judgment

       12.     The IRS gave Scotland proper notice of the assessments described above and

made proper demand for payment.

       13.     Despite the IRS’s proper notice and demand, Scotland has neglected, failed or

refused to pay the assessed amounts and the statutory additions that have accrued on those

assessments.

       14.     Scotland is personally liable to the United States for the unpaid balances of the

assessments, plus statutory accruals.

       15.     Including accrued interest calculated through October 19, 2020, Scotland is

personally liable to the United States for $75,200.05, plus such additional interest or other

statutory additions as may continue to accrue, net any payments or credits.


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          16.    The United States is entitled to a judgment against Scotland in that amount.

          WHEREFORE, the United States respectfully requests that the Court grant the following

relief:

          A.     Enter judgment in favor of the United States and against Melocent V. Scotland for

unpaid federal income tax liabilities for the 2007 through 2014 tax years, in the amount

$75,200.05 plus such interest or other statutory additions as may continue to accrue, net any

payments or credits.

          B.     Grant the United State its costs in this action and such other and further relief as

the Court deems just and proper.



Dated this 23rd day of October, 2020.

                                                        RICHARD E. ZUCKERMAN
                                                        Principal Deputy Assistant Attorney General


                                                        /s/ E. Carmen Ramirez
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